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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

Jeffrey Qua|ls, )
)
Plaintiff, ) CIVIL ACTION NO.:
)
vs. )
)
) JURY TRIAL DEMANDED
)
Medicredit, Inc., ) UNLAWFUL DEBT COLLECTION
) PRACTICES
Defendant. )
COMPLAINT

I. INTRODUCTION

1. P|aintiff Jeffrey Qua|ls states that Defendant engaged in abusive, deceptive,
and unfair acts in violation of the Fair Debt Co|lection Practices Act, 15 U.S.C. § 1692, e_t go
(hereinafter "FDCPA"). Speciflca|ly, Defendant, through the actions of its employees, left a
series of messages on P|aintiff's residential phone without his consent or authorization in an
effort to collect on a debt. The messages did not give the required disclosure regarding
Defendant's status as a debt collector.

II. JURISDICTION AND VENUE

2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), and 28 U.S.C. §
13737.

3. Venue in this District is proper in that the Defendant transacted business here

and the conduct complained of occurred here.

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III. PARTIES

4. Plaintiff is a natural person residing in the County of St. Charles, State of
Missouri.

5. Defendant Medicredit, Inc. (hereinafter referred to as “Medicredit”) is a
Corporation organized pursuant to the laws of the State of Missouri, doing business in the
State of Missouri.

6. Defendant is engaged in the collection of debts from consumers using the mai|,
facsimile transmission and telephone.

7. Defendant regularly attempts to collect consumer debts it purchases after
default and/or consumer debts alleged to be due to another.

8. Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

9. The acts of Defendant alleged hereinafter were performed by its employees
acting within the scope of their employment with Defendant, and with its actual or apparent
authority.

IV. FACTUAL ALLEGATIONS

10. Defendant left a series of phone messages on Plaintiff’s residential phone line
during January, 2013, through Apri|, 2013, in an effort to collect on a debt which was
allegedly originally owed to another entity not a party to this litigation.

11. The alleged obligation is a consumer debt as defined in 15 U.S.C. § 16923(5).

VIOLATIONS OF Tl-IE FDCPA
12. Plaintiff incorporates herein by reference each and every prior allegation and

fact as though fully restated and re-alleged.

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13. Defendant*s actions violated the FDCPA. The violations include, but are not

limited to, the following:
(a) Defendant violated 15 U.S.C. § 1692e(11) when it left
messages on Plaintiff's residential phone line which failed to
indicate that the communication was from a debt collector;
14. As a result of the above violations of the FDCPA, the Defendant is liable to
the Plaintiff for statutory damages, and costs and attorney's fees.
WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendant for the fo|iowing:
A. Statutory damages pursuant to 15 U.S.C. § 1692k;
B. Costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692l<;
C. For such other and further relief as may be just and proper.

PLAINTI FF HEREBY REQUESTS A TRIAL BY ]URY

Respectfully submitted,

%-'\_,’/
- /s/ Steven R. White

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